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             EXHIBIT C
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                                     January 13, 2016
VIA JAMS E-FILING

Martin Quinn, Special Master
JAMS
Two Embarcadero Center, Suite 1500
San Francisco, CA 94111

Re:     In Re: Cathode Ray Tubes (CRT) Antitrust Litigation, 07-cv-5944 JST

Dear Special Master Quinn:

         As you requested at the January 5, 2016 hearing, I write regarding the claimed
“inconsistencies” between the proposed Plan of Distribution and the Court-approved plan
of distribution for the Chunghwa Net Settlement Fund.1 As I stated at the hearing, there
are no such inconsistencies.

I.      Resellers

        Messrs. Cooper and Scarpulla contend that the proposed Plan of Distribution is
inconsistent with the Chunghwa plan of distribution because the Chunghwa plan
provided for payment to resellers and the current plan does not. They further contend
that “the Chunghwa notice told resellers they would be paid at a later date” (January 5,
2016 Hearing Tr., 89:14-15), and that “there was a final judgment approving the
settlement with Chunghwa which provided for a payment to resellers.” Id., 92:15-18.
They are wrong.

        First, Objectors are wrong that the notice of the Chunghwa settlement (ECF No.
1063-1) “told resellers they will be paid at a later date.” To the contrary, the notice
clearly informed resellers that there may not be a distribution in the future, and that the
question would be determined later in light of any additional settlements. See Chunghwa
Notice at p.4, Q.10:

1
  The Net Settlement Fund is defined as “the $10,000,000 settlement amount, plus
interest, minus 25% for attorneys’ fees, reimbursement of expenses, $2.5 million for a
costs set-aside, including the costs of giving notice to class members and administration
of the settlement fund, all of which shall be subject to court approval. The Net
Settlement Fund shall be no less than $5 million.” Order Granting Preliminary Approval
of Class Action Settlement with Defendant Chunghwa Picture Tubes, Ltd. (ECF No. 993)
(“Preliminary Approval Order”), ¶10. The Court granted IPPs’ request to use $2.5 million
of the Chunghwa settlement to fund the litigation. See ECF No. 1334.
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            No money will be distributed to Settlors yet. The lawyers will pursue the
            lawsuit against the Non-Settling Defendants to see if any future
            settlements or judgments can be obtained in the case and then be
            distributed together to reduce expenses. It is possible that money will be
            distributed to organizations who are, as nearly as practicable,
            representative of the interests of indirect purchasers of CRT Products
            instead of Settlors themselves if the cost to process claims would result in
            small payments to Settlors.2

        In other words, the Chunghwa notice clearly informed resellers that (1) they
might not get any money; (2) they would not know until after final approval of the
Chunghwa settlement whether they were getting any money; and (3) if they didn’t like
that plan, they should opt out or object. A number of resellers opted out of the
Chunghwa settlement, but none objected.3

        Second, neither the Chunghwa Settlement Agreement (ECF No. 884-1), nor the
plan of distribution, nor any Chunghwa-related settlement approval order requires
payment to resellers. The Settlement Agreement itself says nothing about the plan of
distribution, let alone whether resellers are to receive any of the settlement funds. The
Chunghwa plan of distribution is set forth in Paragraph 10 of the Chunghwa Preliminary
Approval Order (ECF No. 993), and it too makes no mention of payment to resellers.
Instead, the Order stated explicitly that the details of any future distribution of Chunghwa
funds would be “deferred until a later date when there might be additional settlement
funds.” Id. at ¶ 11.4

       Third, and contrary to Mr. Scarpulla’s claims at the hearing, neither the Final
Approval Order (ECF No. 1105) nor the Final Judgment (ECF No. 1106) says anything
about distributing the settlement funds to resellers. The Final Judgment merely reserves
“continuing jurisdiction over . . . any distribution to Class Members pursuant to further

2
  See also id. at p.3, Q.4 (“Additional money may become available in the future as a
result of a trial or future settlements, but there is no guarantee that this will happen.”)
(emphasis added); p. 4, Q.6 (“If the Plaintiffs obtain additional money or benefits as a
result of a trial or future settlement(s), you will be notified about how to ask for a share or
what your other options are at that time. These things are not known right now.”)
(emphasis added).
3
 See Order Granting Final Approval of Settlement with Chunghwa Picture Tubes, Ltd.,
Exhibit 1 (ECF No. 1105) (listing reseller entities that excluded themselves from the
Chunghwa settlement).
4
  Far from requiring payment to resellers, the focus of the Chunghwa plan of distribution
was simply on the state-by-state allocation of funds—whether through cy pres
distributions or a future class member claims process. Id. at ¶ 10. This state-by-state
allocation is not inconsistent with the proposed Plan of Distribution. See Section II,
infra.
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orders of this Court” (id. ¶10(a)), explicitly reserving the issue for later consideration –
which is precisely what we are doing now.

        In sum, none of the Chunghwa settlement documents provides for payment to
resellers. Thus, there is no inconsistency between the proposed Plan of Distribution and
the Chunghwa plan of distribution.

       Nor is it unfair or unreasonable to exclude resellers from the Plan of Distribution.5
In proposing the Plan of Distribution, Lead Counsel considered the following factors and
concluded, in the exercise of his judgment, that excluding resellers was consistent with
the law and the facts:6

        1. The Chunghwa settlement is the only settlement that includes resellers. As a
           result, only a very small amount of funds (the $5 million Net Settlement Fund
           minus amounts payable to consumers) would be potentially available for
           distribution to resellers. The cost involved to calculate the allocation to
           resellers vs. consumers and conduct a claims process would far outweigh the
           small benefit (if any) that resellers would receive. This is particularly true
           given the evidence that resellers were not injured by the CRT conspiracy
           because they passed on the overcharges to consumers.7
        2. Resellers received fair notice that they may not recover from the Chunghwa
           fund and that a specific plan of distribution would be proposed later in the
           case—a proposal to which no reseller objected at the time.
        3. Resellers that were interested in this case opted out of the Chunghwa
           settlement and pursued their own actions, and most of them voluntarily
           dismissed their indirect purchaser claims due to the problem of proving pass-
           through. See, e.g., ECF Nos. 3406, 3527.
        4. Because resellers were not included in the settlements with the other
           Defendants, they were free to bring their own actions against those
           Defendants and hold them jointly and severally liable.
        5. Resellers that remained part of the Chunghwa settlement class received the
           benefit of Chunghwa’s proffer – a benefit which is commensurate with the
           value of their claims.



5
  The plan of distribution is “governed by the same standards of review applicable to
approval of the settlement as a whole: the plan must be fair, reasonable, and adequate.”
In re Omnivision Techs., Inc., 559 F. Supp. 2d 1036, 1045 (N.D. Cal. 2008) (Conti, J.).
6
  See Rieckborn v. Velti PLC, No. 13-cv-03889, 2015 WL 468329, at *8 (N.D. Cal. Feb.
3, 2015) (“Courts recognize that an allocation formula need only have a reasonable,
rational basis, particularly if recommended by experienced and competent counsel.”)
7
  See In re Omnivision, 559 F. Supp. 2d at 1045 (“it is reasonable to allocate the
settlement funds to class members based on the extent of their injuries or the strength of
their claims on the merits.”)
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        Finally, the Chunghwa notice also advised class members that “[i]mportant
information about the case will be posted on the website. . . . Please check the website to
be kept informed about any future developments.” ECF No. 1063-1, at p. 4, Q.6.
Resellers were therefore on notice that they should check the website regarding any
future allocation of the Chunghwa settlement proceeds. Moreover, IPPs gave extensive
notice of the proposed Plan of Distribution, including direct mail and/or email notice to
millions of companies, some of which are sophisticated companies that likely resold CRT
Products.8 The notice is clear that only consumers may make a claim under the proposed
Plan of Distribution (see id., Exhibit A (Detailed Notice)), yet no reseller has objected to
it.
        In light of the foregoing, no changes to the Plan of Distribution to compensate
resellers are warranted.

II.      Allocation to States

        Messrs. Cooper and Scarpulla also contend that the proposed Plan of Distribution
does not account for the Chunghwa state-by-state plan of distribution, which requires that
the Chunghwa settlement funds be allocated pro rata amongst 24 states before any
distribution to individual claimants. See Preliminary Approval Order, ¶10. This too is
incorrect.

        The Chunghwa plan of distribution was the result of objections to the Chunghwa
settlement filed by the Attorneys General of Illinois, Oregon and Washington. See ECF
Nos. 909-1, 922. Under the direction of Special Master Legge, Lead Counsel negotiated
a resolution of the State AG’s objections, which involved allocating the Chunghwa
settlement funds amongst the 22 states alleged in the operative complaint, Illinois and
Oregon.9 The Chunghwa notice clearly described this plan of distribution to class
members,10 there were no objections to it, and the plan is now final.

        Because class members had already been given notice of the Chunghwa plan of
distribution and it had already been finally approved, it was not necessary to spell it out
again in the current Detailed Notice. The current Detailed Notice is not, however,
inconsistent with the Chunghwa plan of distribution and does not ignore it. The notice

8
 See Declaration of Joseph M. Fisher Reporting on Class Notice (referred to in the
settlement approval papers as “Fisher Decl. II”), ¶¶ 7-16 (describing comprehensive
notice plan, including direct mail notice to every Fortune 500 company nationwide for
each year of the class period).
9
    IPPs were unable to reach an agreement with the Washington AG.
10
  See Chunghwa Notice (ECF No. 1063-1), at p.5, Q.10 (“[T]he money from the current
settlement, will first be allocated amongst the 24 states listed on page 1 of this notice, so
that each state receives its pro rata share. Each state’s pro rata share shall be determined
by computing its population as a percentage of the total population of all 24 states using
census figures from the year 2000.”)
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states: “The combined Settlement Fund totaling $576,750,000 will be used to pay eligible
claimants in the states involved in this litigation.”11 Pursuant to the Chunghwa
Preliminary Approval Order, the “states involved in this litigation” include Illinois,
Oregon and the 22 Indirect Purchaser State Classes.12

        Moreover, nowhere in the current Detailed Notice does it state that the entire
$576,750,000 will be distributed pro rata to individual claimants. In fact, the Detailed
Notice is clear that the amount of the net settlement fund available for distribution is
inherently uncertain.13 Thus, carving out the payments to Illinois and Oregon
(approximately $600,000) in accordance with the Chunghwa Preliminary Approval Order
will not require additional notice.14

        In short, the claimed “inconsistencies” between the proposed Plan of Distribution
and the Chunghwa plan of distribution are not borne out by the facts. The mere fact that
the current Detailed Notice did not set forth the Chunghwa plan of distribution in detail is
not sufficient to require additional notice – particularly when class members already
received adequate notice of the Chunghwa plan and it has been finally approved.

      The proposed Plan of Distribution is fair, adequate and reasonable and should be
approved.

                                        Respectfully submitted,

                                        Mario N. Alioto

                                        Lead Counsel for the Indirect Purchaser Plaintiffs



11
     See Fisher Decl. II, Exhibit A (Detailed Notice at p. 7, Q. 8) (emphasis added).
12
  Once the final Chunghwa Net Settlement Fund is known, the money will be allocated
amongst the 24 states in accordance with Paragraph 10 of the Chunghwa Preliminary
Approval Order. The Illinois and Oregon AGs will receive their states’ pro rata shares
(based on a Net Settlement Fund of $5 million, their shares will be $429,500 and
$118,500, respectively). The other 22 states will receive their pro rata shares as part of
the pro rata distribution to claimants in those states.
13
  See Detailed Notice at p. 7, Q.8 (informing class members that unknown amounts for
“the cost to administer the Settlements as well as attorneys’ fees, litigation expenses and
payments to the Class Representatives will come out of the combined Settlement Fund”
before any distribution is made); id. at Q.9 (“At this time, it is unknown how much
money each Class Member will recover.”)
14
  See In re Online DVD-Rental Antitrust Litig., 779 F.3d 934, 946 (9th Cir. 2015)
(adequate notice does not require “provid[ing] an exact forecast of how much each class
member would receive”).
